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                            UNITED STATES DISTRICT COURT
 8
                          SOUTHERN DISTRICT OF CALIFORNIA
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      DR. CHARBEL MAKSOUD,                               Case No.: 17-cv-00362-H-WVG
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                                        Plaintiff,
12                                                       ORDER GRANTING IN PART AND
      v.                                                 DENYING IN PART DEFENDANT
13                                                       PHILIPPE GUELTON’S MOTION
      BRUCE HOPKINS, et al.,
14                                                       FOR SUMMARY JUDGMENT
                                     Defendants.
15                                                       [Doc. No. 99]
16
17          On August 17, 2018, Defendant Philippe Guelton (“Defendant Guelton”) filed a
18    motion for summary judgment or, in the alternative, partial summary judgment. (Doc.
19    No. 99.) Plaintiff Dr. Charbel Maksoud (“Plaintiff”) opposed the motion on September 4,
20    2018. (Doc. No. 107.) Defendant Guelton replied on September 10, 2018. (Doc. No. 116.)
21    On September 14, 2018, the Court continued the hearing on the motion for summary
22    judgment and set a supplemental briefing schedule in order for the parties to incorporate
23    pending depositions. (Doc. No. 122.) On October 12, 2018, Defendant Guelton filed a
24    supplemental brief in support of his motion for summary judgment. (Doc. No. 124.) On
25    October 26, 2018, Plaintiff filed a supplemental opposition. (Doc. No. 126.) On November
26    2, 2018, Defendant Guelton filed a supplemental reply. (Doc. No. 131.) The Court held a
27    hearing on the matter on November 9, 2018. Mark Y. Lazo appeared for Plaintiff, Charles
28    D. Ferrari appeared for Defendant Guelton, and Christopher L. Walters appeared

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 1    telephonically for Defendant Tirrell Payton. Following the hearing, the Court again
 2    reviewed the entire record. For the reasons below, the Court grants in part and denies in
 3    part Defendant Guelton’s motion for summary judgment.
 4                                        BACKGROUND
 5    I.    Factual History
 6          This action presents a stockholder dispute in which Plaintiff alleges that Defendant
 7    Guelton and others mislead him into investing in a now-failed start-up. (Doc. No. 35.)
 8    Beginning in July 2011, Plaintiff befriended his neighbor, Bruce Hopkins (“Hopkins”).
 9    (Doc. 107-9, Maksoud Decl. ¶ 2.) Plaintiff learned that Hopkins and Defendant Tirrell
10    Payton (“Payton”) were starting a company, BT Software and Research, Inc. (“BT”). (Id.)
11    Hopkins told Plaintiff that BT was working with Defendant Guelton, a “hugely successful
12    online and media marketing businessman[.]” (Id. ¶ 3.)
13          In Spring of 2012, Hopkins began inviting Plaintiff to invest in BT. (Id.) Plaintiff
14    states under oath that during this time, he engaged in numerous phone calls with Hopkins,
15    Payton, and Defendant Guelton in which each of them stated that BT had experienced
16    tremendous growth, secured contracts with major automobile manufacturers, and secured
17    funding from other investors. (Id. ¶ 4, 6, 7; Doc. No. 132-1, Maksoud Depo. at 273–79,
18    302–04.) Plaintiff also testifies that during such phone calls, Defendant Guelton “boasted
19    about his national and international contacts in the online and mass-media marketing areas
20    and related that he had set up numerous meetings in New York with identified strategic
21    partners” and stated that Plaintiff would “substantially benefit as long as [his] investment
22    was made quickly.” (Maksoud Decl. ¶ 6, 8; Doc. No. 132-1, Maksoud Depo. at 309–10.)
23    Maksoud specifically states that Defendant Guelton told him that BT had secured contracts
24    with media companies, including Hearst and the New York Times. (Maksoud Decl. ¶ 4;
25    Doc. No. 132-1, Maksoud Depo. at 211, 310–11, 382.)
26          Beginning in November 2011, Defendant Guelton was an advisor to BT. (Doc. No.
27    99-2, Guelton Decl. ¶ 2.) Under his Advisor Agreement with BT, Defendant Guelton’s
28    duties included: “(i) meeting periodically with the Company’s key management for

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 1    strategy and goal setting sessions; (ii) introducing the Company to prospective strategic
 2    partners (including talent and retailers); (iii) being reasonably available to the Company by
 3    telephone and e-mail; (iv) lending Advisor’s name when and where appropriate; and (v)
 4    attending meetings with prospective and/or existing strategic partners[.]” (Doc. No. 99-4,
 5    Exh. A at 2.) In July 2013, Defendant Guelton joined BT’s Board of Directors, but retained
 6    the same duties he had as an advisor. (Guelton Decl. ¶ 5–6; Doc. No. 99-6, Exh. C at 2.)
 7    According to his agreements with BT, for both his roles as advisor and director, Defendant
 8    Guelton was to be compensated with shares of BT, not by salary. (Doc. Nos. 99-4, Exh. A
 9    at 2; 99-6, Exh. C at 2; 124-4, Payton Depo. at 8–9.) However, Defendant Guelton states
10    that he never received any documentation of his shares in BT. (Guelton Decl. ¶ 22.)
11    Defendant Guelton has submitted a declaration under oath stating that he had no
12    communications with Plaintiff prior to Plaintiff’s investment in BT, and that he did not
13    make any representations to Plaintiff regarding BT, his industry knowledge, or his media
14    contacts. (Id. ¶ 8.) Defendant Guelton states that he first learned of Plaintiff’s investment
15    from Hopkins via email on May 1, 2014, and that he had no other communications with
16    any party regarding Plaintiff’s investment. (Id. ¶ 7; Doc. No. 99-7, Exh. D.)
17          On May 10, 2014, Plaintiff invested $250,000 in BT to develop a media platform
18    called “Kaliki.” (Doc. No. 99-18, Exh. O; Maksoud Depo. at 327–28.) Plaintiff signed an
19    Advisor Agreement with duties identical to those listed in Defendant Guelton’s Advisor
20    Agreement. (Doc. No. 99-22, Exh. S.) Plaintiff states that Defendant Guelton, Hopkins,
21    and Payton all represented to him that his investment would be used for operational
22    expenses, research, and development, not for salaries. (Doc. No. 132-1, Maksoud Depo. at
23    282–83.)
24          Defendant Guelton states that he was first introduced to Plaintiff in a May 14, 2014
25    email from Hopkins. (Guelton Decl. ¶ 10; Doc. No. 99-9, Exh. F.) Defendant Guelton states
26    that the first time he spoke to Plaintiff via telephone was June 3, 2014. (Guelton Decl. ¶ 11.)
27    Defendant Guelton states that Plaintiff expressed a desire to help expand BT into France,
28    so Defendant Guelton provided Plaintiff with information of French media contacts. (Id.)

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 1    Defendant Guelton maintains that his interaction with Plaintiff was very limited. (Id.) In
 2    contrast, Plaintiff states that after he invested, he periodically communicated with Hopkins
 3    and Defendant Guelton regarding BT’s procurement of new strategic partners and outside
 4    investors. (Maksoud Decl. ¶ 12.) Plaintiff further states that after investing in BT, he
 5    recruited his now-deceased brother-in-law, Nadeem Baaklini, to develop a software search
 6    engage for BT called “OnSay” in exchange for equity in BT. (Doc. No. 35 at 6; Doc. No.
 7    132-1, Maksoud Depo. at 76–77, 184.)
 8             Beginning in November 2015, Plaintiff, Defendant Guelton, and Payton were all
 9    unable to contact Hopkins. (Guelton Decl. ¶ 12–18.) In December 2015 and January 2016,
10    through email communications, the parties learned that Hopkins initiated a wire transfer
11    from BT’s business account and was involved in legal trouble in Spain related to the death
12    of Hopkins’s son. (Id. at ¶ 19; Doc. Nos. 99-24–99-27, Exhs. U–X.) At some point after
13    that BT was forfeited. (Guelton Decl. ¶ 20.) Defendant Guelton states that he was not
14    involved in the forfeiture and does not hold any intellectual property rights relating to BT.
15    (Id. ¶ 20–21.)
16             After hearing nothing regarding his investment for several months, Plaintiff hired
17    counsel to investigate the veracity of the representations made by Defendant Guelton,
18    Hopkins, and Payton before and after Plaintiff’s investment. (Maksoud Decl. at ¶ 13.)
19    Plaintiff states that this investigation shows that there were no other investors, no contracts
20    with major automobile companies, and no relationships with media companies. (Id.)
21    Plaintiff maintains that had Defendant Guelton not made the allegedly false statements and
22    representations to him prior to his investment, he would not have invested in BT. (Id. at ¶
23    14.) Defendant Guelton denies that any conversations with Plaintiff occurred prior to his
24    investment and produces phone records showing that he did not call Plaintiff before the
25    investment. (Guelton Decl. ¶ 8; Doc. No. 124-2, Exh. DD.) In contrast, Plaintiff states that
26    he had multiple telephone calls with Defendant Guelton regarding BT. (Maksoud Decl. ¶ 4,
27    6, 8.)
28    ///

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 1    II.    Procedural History
 2           On July 10, 2017, Plaintiff filed his Second Amended Complaint alleging several
 3    causes of action against: Defendant Guelton; Tirrell and Susan Payton; Shawn Smith; BT;
 4    SheKnows Media; and Momentum Marketing. (Doc. No. 35.) Since then, all defendants
 5    have been dismissed except Defendant Guelton, Tirrell Payton, and Susan Payton.1 (Doc.
 6    Nos. 56, 57, 83.) Plaintiff alleges 14 causes of action against Defendant Guelton:
 7    (1) intentional misrepresentation, (2) unjust enrichment, (3) restitution, (4) breach of
 8    fiduciary duties of care and loyalty, (5) common count (money had and received), (6)
 9    intentional interference with prospective economic relations, (7) unfair business practices,
10    (8) negligent interference with prospective economic relations, (9) negligence, (10)
11    constructive trust, (11) aiding and abetting fraud, (12) false promise, (13) accounting, and
12    (14) declaratory relief. 2 (Doc. No. 35.)
13                                                 DISCUSSION
14    I.     Legal Standards
15           Summary judgment is appropriate under Federal Rule of Civil Procedure 56 if the
16    moving party demonstrates that there is no genuine issue of material fact and that it is
17    entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477
18    U.S. 317, 322 (1986). A fact is material when, under the governing substantive law, it could
19    affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986);
20    Fortune Dynamic, Inc. v. Victoria’s Secret Stores Brand Mgmt., Inc., 618 F.3d 1025, 1031
21    (9th Cir. 2010). “A genuine issue of material fact exists when the evidence is such that a
22    reasonable jury could return a verdict for the nonmoving party.” Fortune Dynamic, 618
23
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25      BT was listed as a Defendant in the Second Amended Complaint and has not been dismissed, however
      Plaintiff never filed proof of service as to BT, BT has not made an appearance, and Plaintiff has not asked
26    the Court for an extension of time to serve BT. Accordingly, the Court considers Plaintiff’s failure to serve
      BT within the time limits set forth in Federal Rule of Civil Procedure 4(m) and Civil Local Rule 4.1 to
27    mean that Plaintiff is not proceeding against BT.
      2
28      Plaintiff’s causes of action for breach of implied covenant of good faith and fair dealing (Claim 4) and
      breach of written contract (Claim 13) are only made against BT. (Doc. No. 35 at 10, 22.)

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 1    F.3d at 1031 (internal quotation marks and citations omitted); accord Anderson, 477 U.S.
 2    at 248. “Disputes over irrelevant or unnecessary facts will not preclude a grant of summary
 3    judgment.” T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass’n, 809 F.2d 626, 630 (9th
 4    Cir. 1987).
 5          A party seeking summary judgment always bears the initial burden of establishing
 6    the absence of a genuine issue of material fact. Celotex, 477 U.S. at 323. The moving party
 7    can satisfy this burden in two ways: (1) by presenting evidence that negates an essential
 8    element of the nonmoving party’s case; or (2) by demonstrating that the nonmoving party
 9    failed to establish an essential element of the nonmoving party’s case that the nonmoving
10    party bears the burden of proving at trial. Id. at 322–23; Jones v. Williams, 791 F.3d 1023,
11    1030 (9th Cir. 2015). Once the moving party establishes the absence of a genuine issue of
12    material fact, the burden shifts to the nonmoving party to “set forth, by affidavit or as
13    otherwise provided in Rule 56, ‘specific facts showing that there is a genuine issue for
14    trial.’” T.W. Elec. Serv., 809 F.2d at 630 (quoting former Fed. R. Civ. P. 56(e)); accord
15    Horphag Research Ltd. v. Garcia, 475 F.3d 1029, 1035 (9th Cir. 2007). To carry this
16    burden, the non-moving party “may not rest upon mere allegation or denials of his
17    pleadings.” Anderson, 477 U.S. at 256; see also Behrens v. Pelletier, 516 U.S. 299, 309
18    (1996) (“On summary judgment, . . . the plaintiff can no longer rest on the pleadings.”).
19    Rather, the nonmoving party “must present affirmative evidence . . . from which a jury
20    might return a verdict in his favor.” Anderson, 477 U.S. at 256. Questions of law are well-
21    suited to disposition via summary judgment. See, e.g., Pulte Home Corp. v. Am. Safety
22    Indem. Co., 264 F. Supp. 3d 1073, 1077 (S.D. Cal. 2017).
23          When ruling on a summary judgment motion, the Court must view the facts and
24    draw all reasonable inferences in the light most favorable to the non-moving party. Scott
25    v. Harris, 550 U.S. 372, 378 (2007). A court should not weigh the evidence or make
26    credibility determinations. See Anderson, 477 U.S. at 255. Further, the Court may consider
27    other materials in the record not cited to by the parties, but it is not required to do so. See
28    Fed. R. Civ. P. 56(c)(3); Simmons v. Navajo Cnty., 609 F.3d 1011, 1017 (9th Cir. 2010).

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 1    II.   Analysis
 2          Defendant Guelton seeks summary judgment on all 14 causes of action made against
 3    him in Plaintiff’s Second Amended Complaint. (Doc. No. 99.) Defendant Guelton argues
 4    that: (1) he did not make and had no knowledge of any alleged misrepresentations; (2) he
 5    had no authority to and did in fact not participate in, direct, or authorize any wrongdoing
 6    by BT; (3) he had no knowledge of any of Plaintiff’s prospective economic relations; (4)
 7    he did not receive or profit from any portion of Plaintiff’s investment; (5) an accounting is
 8    unnecessary when a sum can be readily determined and he lacked access to BT’s
 9    accounting records; and (6) declaratory relief is improper. (Id. at 11–27.) Defendant
10    Guelton also argues that Plaintiff has failed to create genuine issues of material fact because
11    he only relies on uncorroborated, self-serving testimony. (Doc. No. 124 at 5.)
12          In opposition, Plaintiff argues that there are triable issues of fact with regards to his
13    claims against Defendant Guelton. (Doc. No. 126 at 3.) Plaintiff states that he and
14    Defendant Guelton did speak prior to his investing in BT, and during such conversations
15    Defendant Guelton made misrepresentations in order to induce Plaintiff’s investing. (Id.)
16    Plaintiff also argues that Defendant Guelton as a director owed Plaintiff fiduciary duties,
17    and whether those duties were breached is a factual inquiry. (Id. at 6–7.)
18          The Court concludes that, drawing all inferences in favor of Plaintiff, Scott, 550
19    U.S. at 378, triable issues of fact remain on Plaintiff’s claims for: intentional
20    misrepresentation, aiding and abetting fraud, false promise, unjust enrichment, restitution,
21    constructive trust, breach of fiduciary duties, negligence, unfair business practices, and
22    accounting. Thus, the Court denies summary judgment on those claims. However, the
23    Court grants summary judgment on the claims for common count (money had and
24    received), intentional and negligent interference with prospective economic relations, and
25    declaratory judgment.
26          A.     Intentional Misrepresentation (Claim 1), Aiding and Abetting Fraud
27                 (Claim 12), and False Promise (Claim 14)
28          Plaintiff’s claims for intentional misrepresentation, aiding and abetting fraud, and

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 1    false promise all arise out of alleged misrepresentations made by Defendant Guelton in
 2    order to induce Plaintiff’s investment. (Doc. No. 126 at 3.) In a claim for intentional
 3    misrepresentation, the plaintiff must show: “(1) a misrepresentation; (2) knowledge of
 4    falsity; (3) intent to induce reliance; (4) actual and justifiable reliance, and (5) resulting
 5    damages.” Cisco Systems, Inc. v. STMicroelectronics, Inc., 77 F. Supp. 3d 887, 897 (N.D.
 6    Cal. 2014). Plaintiff must specifically indicate the “time, place, and specific content of the
 7    false representations as well as the identities of the parties to the misrepresentation.” Swartz
 8    v. KPMG LLP, 476 F.3d 756, 764 (9th Cir. 2007).
 9          In a claim for aiding and abetting an intentional tort, “plaintiffs must prove: (1) the
10    fact of perpetration of the overall improper scheme; (2) the aider and abettor’s knowledge
11    of such a scheme; and (3) the aider and abettor’s substantial assistance furthered the
12    scheme.” River Colony Estates Gen. P’ship v. Bayview Fin. Trading Grp., Inc., 287 F.
13    Supp. 2d 1213, 1225 (S.D. Cal. 2003) (citing Harmsen v. Smith, 693 F.2d 932, 943 (9th
14    Cir. 1982)); see Casey v. U.S. Bank Nat. Assn., 127 Cal. App. 4th 1138, 1144 (2005).
15    “Mere knowledge that a tort is being committed and the failure to prevent it does not
16    constitute aiding and abetting.” Austin B. v. Escondido Union Sch. Dist., 149 Cal. App.
17    4th 860, 879 (2007) (citing Fiol v. Doellstedt, 50 Cal. App. 4th 1318, 1326 (1996)).
18          False promise is a particular type of fraud. See Beckwith v. Dahl, 205 Cal. App. 4th
19    1039, 1060 (2012) (referring to the action as “deceit by false promise” or “fraudulent
20    deceit”); Bernstein v. Vocus, Inc., 2014 WL 3673307, *5 (N.D. Cal. July 23, 2014)
21    referring to the action as “a false promise fraud theory”). In an action for false promise,
22    “one must specifically allege and prove . . . that the promisor did not intend to perform at
23    the time he or she made the promise and that it was intended to deceive or induce the
24    promise to do or not do a particular thing.” Tarmann v. State Farm Mut. Auto. Ins. Co.,
25    2 Cal. App. 4th 153, 158 (1991).
26          On all three of these claims, genuine issues of material fact remain. Defendant
27    Guelton maintains that he never personally spoke to Plaintiff prior to Plaintiff’s investing.
28    (Doc. No. 99 at 13–14; Guelton Decl. ¶ 8.) To show that the he and Plaintiff never spoke

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 1    on the phone, Defendant Guelton provides his call logs for the dates on which Plaintiff
 2    states that he spoke with Defendant Guelton. (Doc. No. 124-2, Exh. DD.) He also cites to
 3    deposition testimony of Payton in which Payton states that no such conversations occurred
 4    prior to Plaintiff’s investment. (Doc. No. 124-4, Payton Depo. at 11–12.) Defendant
 5    Guelton argues that Plaintiff has not created genuine issues of fact because the only
 6    evidence that Plaintiff has produced showing that such conversations took place are
 7    Plaintiff’s declaration and deposition, which are uncorroborated and self-serving. (Doc.
 8    No. 124 at 3.) Further, Defendant Guelton argues that Plaintiff’s deposition testimony is
 9    contradictory to Plaintiff’s responses to Defendant Guelton’s requests for admissions.
10    (Doc. No. 131 at 4.) There, when asked to admit that Plaintiff did not seek to speak with
11    or otherwise communicate with Defendant Guelton prior to his investing in BT, Plaintiff
12    stated: “Deny, except to the extent that Plaintiff did not meet face to face with [Defendant
13    Guelton] prior to the investment but rather relied upon authorized representations of [his]
14    involvement and role in BT.” (Doc. No. 99-19 at 10.)
15          The Ninth Circuit has “refused to find a ‘genuine issue’ [as to a material fact] where
16    the only evidence presented is ‘uncorroborated and self-serving’ testimony.” Manley v.
17    Rowley, 847 F.3d 705, 710–11 (9th Cir. 2017) (quoting Villiarimo v. Aloha Island Air,
18    Inc., 281 F.3d 1054, 1061 (9th Cir. 2002) (quotation marks omitted and alterations in
19    original). But, “because a party’s own testimony will nearly always be ‘self-serving,’ the
20    mere self-serving nature of testimony permits a court to discount that testimony where it
21    ‘states only conclusions and not facts that would be admissible evidence.’” Id. (quoting
22    Nigro v. Sears, Roebuck and Co., 784 F.3d 495, 497–98 (9th Cir. 2015)). Further, “a court
23    ruling on a motion for summary judgment may not engage in ‘[c]redibility determinations’
24    or ‘the weighing of evidence,’ as those are functions reserved for the jury.” Id. (quoting
25    Anderson, 477 U.S. at 255) (alterations in original).
26          Plaintiff’s evidence creates genuine issues of material fact. Plaintiff declares under
27    oath that he spoke to Defendant Guelton numerous times before he invested in BT.
28    (Maksoud Decl. ¶ 4; Doc. No. 132-1, Maksoud Depo. at 279, 302–04.) Plaintiff states that

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 1    during these conversations, Defendant Guelton, Payton, and Hopkins stated that BT had
 2    secured major contracts and meetings with automobile manufacturers and media
 3    companies. (Maksoud Decl. ¶ 4–5; Doc. No. 132-1, Maksoud Depo. at 228, 309–10, 382.)
 4    Plaintiff maintains that these statements induced him to invest in BT. (Maksoud Decl. ¶
 5    11.) Plaintiff declares that ultimately he found through an investigation that the statements
 6    were false. (Id. at 13; Doc. No. 132-1, Maksoud Depo. at 309–11.) Further, Plaintiff’s
 7    responses to requests for admissions are not directly contradictory to his declaration and
 8    deposition testimony. In his response to requests for admissions, Plaintiff denies that the
 9    two never spoke prior to his investment, only stating that the two never met face to face.
10    (Doc. No. 99-19 at 10.)
11          Defendant Guelton argues that Plaintiff’s declaration and deposition testimony are
12    different from Plaintiff’s discovery responses, but Defendant Guelton has not specifically
13    shown the Court where. It is clear that no face-to-face communications between Defendant
14    Guelton and Plaintiff took place prior to Plaintiff’s investment. However, the two provide
15    dramatically different accounts of conversations that lead to Plaintiff’s investment. For
16    example, Plaintiff states that the calls were not initiated through his own phone, but rather,
17    he spoke with Defendant Guelton on conference calls, through Hopkins’s phone and
18    through alternative call methods, like Skype and Hangout. (Doc. No. 132-1, Maksoud
19    Depo. at 273–82, 313–14.) The Court should not weigh the evidence or make credibility
20    determinations. See Anderson, 477 U.S. at 255. For that reason, the Court denies summary
21    judgment as to Plaintiff’s claims for intentional misrepresentation, aiding and abetting
22    fraud, and false promise.
23          B.     Unjust Enrichment (Claim 2), Restitution (Claim 3), and Constructive
24                 Trust (Claim 11)
25          Plaintiff’s claims for unjust enrichment, restitution, and constructive trust are all
26    remedies for Guelton’s allegedly fraudulent conduct and misuse of Plaintiff’s investment.
27    (Doc. No. 126 at 8–9.) “The elements of an unjust enrichment claim are ‘the receipt of a
28    benefit and [the] unjust retention of the benefit at the expense of another.’” Peterson v.

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 1    Cellco P’ship, 164 Cal. App. 4th 1583, 1593 (2008). “A person who has been unjustly
 2    enriched at the expense of another is required to make restitution to the other. A person is
 3    enriched if he receives a benefit at another’s expense.” Troyk v. Farmers Grp., Inc., 171
 4    Cal. App. 4th 1305, 1339 (2009) (quoting County of Solano v. Vallejo Redevelopment
 5    Agency, 75 Cal. App. 4th 1262 (1999)). Thus the elements of a restitution claim are
 6    identical to those of an unjust enrichment claim. See Bowler v. Home Depot USA Inc.,
 7    2010 WL 3619850, *4 (N.D. Cal. Sept. 13, 2010) (“Restitution is defined by the element
 8    of “unjust enrichment”).
 9          “[T]hree conditions are necessary for a plaintiff to establish a constructive trust for
10    its benefit: the existence of a res (some property or some interest in property), the plaintiff’s
11    right to that rest, and the defendant’s gain of the res by fraud, accident, mistake, undue
12    influence or other wrongful act.” United States v. Pegg, 782 F.2d 1498, 1500 (9th Cir.
13    1986). “Under California law, a constructive trust is an equitable remedy, not a substantive
14    claim. In order to establish a constructive trust, the purported beneficiary of the trust must
15    have a substantive right to receive the property.” Fourth Investment LP v. United States,
16    2010 WL 3069685, *8 (S.D. Cal. Aug. 4, 2010) (citing Pegg, 782 F.2d at 1500).
17          Genuine issues of material fact remain on Plaintiff’s equitable claims for unjust
18    enrichment, restitution, and constructive trust. Defendant Guelton argues that he never
19    benefited from the money invested by Plaintiff. (Doc. No. 99 at 24; Guelton Decl. ¶ 22.)
20    Defendant Guelton refers to Plaintiff’s deposition in which he states that he has no evidence
21    that distributions from the BT checking were made to Guelton. (Doc. No. 132-1, Maksoud
22    Depo. at 329.) Defendant Guelton also refers to Payton’s deposition in which he states that
23    Defendant Guelton received only equity in BT for his work. (Doc. No. 124-4, Payton Depo.
24    at 8–9.) Further, Payton stated that generally he did not share with Defendant Guelton the
25    expenditures of BT. (Id. at 31.) In contrast, Plaintiff states that the money he invested was
26    used by Defendant Guelton and the other defendants for “vacations and other non-business
27    endeavors” and salaries. (Doc. Nos. 126 at 8; 132-1, Maksoud Depo. at 74–76.) Plaintiff
28    also states that Defendant Guelton and Payton authorized Hopkins to withdraw his money

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 1    from the BT accounts because withdrawals could only be made with approval of all three
 2    directors. (Doc. No. 132-1 at 249–50.) Further, Plaintiff states that because Defendant
 3    Guelton was a “director involved in the day-to-day operation of BT,” he had access to BT’s
 4    accounts. (Doc. Nos. 126 at 8; 132-1, Maksoud Depo. at 267–68, 307–08.) Triable issues
 5    of fact remain as to whether Defendant Guelton benefited from Plaintiff’s investment and
 6    had access to BT’s accounts. Accordingly, the Court denies summary judgment on
 7    Plaintiff’s claims for unjust enrichment, restitution, and constructive trust. 3
 8           C.     Breach of Fiduciary Duties (Claim 5) and Negligence (Claim 10)
 9           Plaintiff’s claims for breach of fiduciary duties and negligence both arise from
10    Defendant Guelton’s role as a director of BT. (Doc. No. 126 at 6.) “The elements of a cause
11    of action for breach of fiduciary duty are: (1) the existence of a fiduciary duty; (2) the
12    breach of that duty; and (3) damage proximately caused by that breach.” Mosier v. S. Calif.
13    Physicians Ins. Exch., 63 Cal. App. 4th 1022, 1044 (1998). “It is without dispute that in
14    California, corporate directors owe a fiduciary duty to the corporation and its shareholders
15    and now as set out by statute, must serve ‘in good faith, in a manner such director believes
16    to be in the best interests of the corporation and its shareholders.’” Berg & Berg
17    Enterprises, LLC v. Boyle, 178 Cal. App. 4th 1020, 1037 (2009) (citing Cal. Corp. Code
18    § 309(a)). “Directors or officers of a corporation do not incur personal liability for torts of
19    the corporation merely by reason of their official position, unless they participate in the
20    wrong or authorize or direct that it be done[.]” PMC, Inc. v. Kadisha, 78 Cal. App. 4th
21    1368 (2000) (quoting United States Liab. Ins. Co. v. Haidinger-Hayes, Inc., 1 Cal. 3d 586,
22    595 (1970)). “The breach of fiduciary duty can be based upon either negligence or fraud
23    depending on the circumstances.” Ash v. North Am. Title Company, 223 Cal. App. 4th
24    1258, 1276 (2014).
25    ///
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28      Because these claims are equitable in nature, the Court reserves the right to bifurcate the claims and
      submit them to the Court for determination.

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 1          Plaintiff’s negligence claim also arises from Guelton’s duty as a director of BT. To
 2    state a cognizable claim for negligence under California law, plaintiff “must establish four
 3    required elements: (1) duty; (2) breach; (3) causation; and (4) damages.” Wells Fargo Bank,
 4    N.A. v. Renz, 795 F. Supp. 2d 898, 924–25 (N.D.Cal.2011) (citing Ileto v. Glock, Inc., 349
 5    F.3d 1191, 1203 (9th Cir.2003)). California law “requires directors to act in good faith and
 6    with the prudence that an ordinary person would under like circumstances. However, [the
 7    business judgment rule] also entitles a director to rely on information supplied by others.
 8    If directors meet the requirements of the business judgment rule, they are entitled to
 9    immunity from personal liability for acts of ordinary negligence under California law.”
10    F.D.I.C. v. Castetter, 184 F.3d 1040, 1044 (9th Cir. 1999).
11          It is undisputed that Defendant Guelton was a director of BT. Defendant Guelton
12    acknowledges that as such, he owed a duty to shareholders—however, he denies any breach
13    of that duty. (Doc. No. 131 at 4.) Defendant Guelton argues that although he was a director,
14    he is free from liability because he did not participate in, direct, or authorize any alleged
15    tort committed by BT or its other directors. (Doc. No. 99 at 17.) Defendant Guelton also
16    argues that the law permitted him as a non-officer director to rely on other BT management
17    without a duty of further inquiry. (Id.) Defendant Guelton further maintains that he only
18    ever acted as an advisor to BT and was given the title of director as a gesture. (Doc. Nos.
19    124 at 5; 124-4, Payton Depo. at 19.)
20          However, Plaintiff does not merely state that Defendant Guelton failed to stop the
21    alleged fraud, but rather, Plaintiff maintains that Defendant Guelton directly participated
22    in fraudulently inducing Plaintiff’s investment. (Doc. No. 126 at 6–7.) Plaintiff declares
23    under oath that he spoke to Defendant Guelton, Payton, and Hopkins prior to his investment
24    and that all three of them made false representations regarding BT’s business prospects in
25    order to induce Plaintiff’s investment. (Maksoud Decl. ¶ 4–5; Doc. No. 132-1, Maksoud
26    Depo. at 228, 309–10, 382.) Plaintiff specifies that some of these misrepresentations were
27    with regards to relationships with media companies, which was Defendant Guelton’s area
28    of expertise at BT. (Doc. No. 132-1, Maksoud Depo. at 310–11, 382.) Plaintiff also states

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 1    that Defendant Guelton then profited from the fraudulently induced investment, in breach
 2    of his fiduciary duties. (Doc. Nos. 126 at 8; 132-1, Maksoud Depo. at 74–75.) Further,
 3    Plaintiff states that Defendant Guelton and Payton authorized Hopkins to withdraw his
 4    money from the BT accounts because withdrawals could only be made with approval of all
 5    three directors. (Doc. No. 132-1 at 249–50.) Accordingly, genuine issues of material fact
 6    remain as to whether Guelton breached any duty owed to Plaintiff arising from his position
 7    as director of BT, and the Court denies summary judgment on the claims for breach of
 8    fiduciary duties and negligence.
 9          D.     Unfair Business Practices (Bus. & Prof. Code § 17200 et seq.) (Claim 8)
10          California Business and Professional §§ 17200 et seq., known as the Unfair
11    Competition Law (“UCL”) prohibits “any unlawful, unfair or fraudulent business act or
12    practice and unfair, deceptive, untrue or misleading advertising[.]” Cal. Bus. & Prof. Code
13    § 17200. “[A] plaintiff may proceed under the UCL on three possible theories. First,
14    ‘unlawful’ conduct that violates another law is independently actionable under Section
15    17200. Alternatively, a plaintiff may plead the defendants’ conduct is ‘unfair’ within the
16    meaning of the several standards developed by the courts. Finally, a plaintiff may challenge
17    ‘fraudulent’ conduct by showing that ‘members of the public are likely to be deceived’ by
18    the challenged business acts or practices.” Stewart v. Screen Gems-EMI Music, Inc., 81 F.
19    Supp. 3d 938, 967 (N.D. Cal. 2015) (citing In re Tobacco II Cases, 46 Cal. 4th 298, 312
20    (2009); Daugherty v. Am. Honda Motor Co., Inc., 144 Cal. App. 4th 824, 838 (2006)). “A
21    business practice is unfair within the meaning of the UCL if it violates established public
22    policy or if it is immoral, unethical, oppressive or unscrupulous and causes injury to
23    consumers which outweighs its benefits.” McKell v. Washington Mut., Inc., 142 Cal. App.
24    4th 1457, 1473 (2006). Determining whether a practice was unfair “is one of fact which
25    requires a review of the evidence from both parties.” Id.
26          Plaintiff does not specifically identify which section of the UCL Defendant Guelton
27    has allegedly violated. Defendant Guelton argues that this is fatal to Plaintiff’s claims,
28    citing to Khoury v. Maly’s of California, Inc., 14 Cal. App. 4th 612 (1993). However, the

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 1    court in Khoury only required that a plaintiff state with reasonable particularity the facts
 2    supporting the statutory elements of a statutory violation. Id. at 619. Here, Plaintiff has
 3    created factual disputes that fall within the broad umbrella of the UCL. For example,
 4    Plaintiff’s claims for intentional misrepresentation and false promise, if successful, would
 5    permit a UCL claim under the first or third theories. See Stewart, 81 F. Supp. 3d at 967.
 6    Genuine issues of material fact remain on the claims that could give rise to a UCL claim.
 7    Further, factual inquiry is necessary to determine whether any actions by Defendant
 8    Guelton could be categorized as “unfair” under the second theory. See McKell, 142 Cal.
 9    App. 4th at 1473. Accordingly, the Court denies summary judgment on Plaintiff’s UCL
10    claim.
11             E.    Accounting (Claim 15)
12             In his Second Amended Compliant, Plaintiff alleges a cause of action for an
13    accounting of the uses of his investment. (Doc. No. 35 at 25.) “An accounting cause of
14    action is equitable and may be sought where the accounts are so complicated that an
15    ordinary legal action demanding a fixed sum is impracticable.” Hamilton v. Bank of Blue
16    Valley, 746 F. Supp. 2d 1160, 1175 (E.D. Cal. 2010) (citing Civic Western Corp. v. Zila
17    Industries, Inc., 66 Cal. App. 3d 1, 14 (1977)). To succeed in a claim for accounting,
18    Plaintiff must show (1) a fiduciary relationship and (2) “an unknown balance due from the
19    Defendants that cannot be ascertained without an accounting.” Baker v. Varitalk, Inc., 2008
20    WL 11319707, *4 (C.D. Cal. Feb. 6, 2008); see also Kritzer v. Lancaster, 96 Cal. App. 2d
21    1, 6–7 (1950).
22             Defendant Guelton argues that an accounting is unnecessary because the sum owed
23    to Plaintiff is certain, equaling the amount of Plaintiff’s investment. (Doc. No. 99 at 25.)
24    Further, Defendant Guelton argues that he never had access to BT’s financial accounts and
25    never had possession of Plaintiff’s investment. (Doc. Nos. 99 at 17; 124-4, Payton Depo.
26    at 8–9.) Plaintiff does not address the claim for accounting in either his opposition or his
27    supplemental opposition. However, Plaintiff states that Guelton owed him fiduciary duties
28    and had access to BT’s financial accounts as a director of BT. (Doc. Nos. 126 at 6; 132-1,

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 1    Maksoud Depo. at 308.) Plaintiff has demonstrated genuine dispute of material fact
 2    showing that there is some unknown balance possibly due to him resulting from
 3    complicated transactions involving alleged misappropriation of his investment by Guelton
 4    and the other directors. (Doc. Nos. 126 at 8; 132-1, Maksoud Depo. at 74–75.) Therefore,
 5    the Court denies summary judgment on the accounting claim. 4
 6           F.      Common Count (Money Had and Received) (Claim 6)
 7           “The common count is a general pleading which seeks recovery of money without
 8    specifying the nature of the claim.” Title Ins. Co. v. State Bd. of Equalization, 4 Cal. 4th
 9    715, 731 (1992). “A claim for Money Had and Received makes a defendant indebted to a
10    plaintiff for money had and received by the defendant for the use of the plaintiff.” Lincoln
11    Nat’l Life Ins. Co. v. McClendon, 230 F. Supp. 3d 1180, 1190 (C.D. Cal. 2017) (citation
12    and internal quotation marks omitted). For a claim of money had and received, a plaintiff
13    must show: “(1) defendant received money; (2) the money defendant received was for
14    plaintiff's use; and (3) defendant is indebted to plaintiff.” Id. (citation omitted).
15           The Court concludes that Plaintiff’s claim for money had and received fails because
16    Defendant Guelton did not receive Plaintiff’s investment. For example, the court in Lincoln
17    National Life Insurance held that a defendant “received” the plaintiff’s money where
18    plaintiff produced checks to defendant’s deceased mother endorsed by defendant and
19    defendant admitted that she deposited the checks. Id. at 1191. Here, Defendant Guelton
20    was not the recipient of Defendant Guelton’s $250,000 investment. Rather, as shown in
21    Plaintiff’s stock purchase agreement with BT, which is signed by Payton as CEO, BT was
22    the recipient of the investment. (Doc. No. 99-18, Ex. O.) In contrast, Plaintiff’s claims for
23    unjust enrichment, restitution, and constructive trust require that Plaintiff demonstrate that
24    Defendant Guelton “benefited” or “gained” from Plaintiff’s investment. See Pegg, 782
25    F.2d at 1500; Troyk, 171 Cal. App. 4th at 1339; Peterson, 164 Cal. App. 4th at 1593.
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27    4
       As with Plaintiff’s claims for unjust enrichment, restitution, and constructive trust, because this claim is
28    equitable in nature, the Court reserves the right to bifurcate this claim and submit it to the Court for
      determination.

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 1    Although Defendant Guelton was not the recipient of Plaintiff’s investment, Plaintiff has
 2    created genuine issues of material fact as to whether Defendant Guelton benefited from his
 3    investment. Accordingly, because Defendant Guelton was not the recipient of Plaintiff’s
 4    investment, the Court grants Defendant Guelton’s motion for summary judgment as to
 5    Plaintiff’s claim for common count (money had and received).
 6          G.     Intentional and Negligent Interference with Prospective Economic
 7                 Relations (Claims 7, 9)
 8          Plaintiff has failed to provide any evidence showing that Defendant Guelton
 9    intentionally or negligently interfered with Plaintiff’s prospective economic relations. The
10    elements of intentional interference with prospective economic relations are: “(1) an
11    economic relationship between the plaintiff and a third party with the probability of future
12    economic benefit to plaintiff, (2) defendant’s knowledge of the relationship, (3) intentional
13    wrongful acts by defendant intended to disrupt the relationship, (4) actual disruption, and
14    (5) economic harm to plaintiff.” Sybersound Records, Inc. v. UAV Corp., 517 F.3d 1137,
15    1151 (9th Cir. 2008); see Green Hills Software, Inc. v. Safeguard Scientifics and SPC
16    Private Equity Partners, 33 Fed. Appx. 893, 894 (9th Cir. 2002) (citing Della Penna v.
17    Toyota Motor Sales, U.S.A. Inc., 11 Cal. 4th 376, 389 (1995)). Plaintiff must “identify with
18    particularity the relationships or opportunities with which [d]efendant is alleged to have
19    interfered.” UMG Recording, Inc. v. Global Eagle Entm’t, Inc., 117 F. Supp. 3d 1092, 1118
20    (C.D. Cal. 2015). “Allegations that a defendant interfered with a relationship with an ‘as
21    yet unidentified’ customer will not suffice.” Id. at 1117 (citing Westside Ctr. Assocs. v.
22    Safeway Stores 23, Inc., 42 Cal. App. 4th 507, 527 (1996)).
23          Negligent interference with prospective economic relations requires: “(1) an
24    economic relationship existed between the plaintiff and a third party that contained a
25    reasonably probable future economic benefit or advantage to plaintiff; (2) the defendant
26    knew of the existence of the relationship and was aware or should have been aware that if
27    it did not act with due care its actions would interfere with this relationship and cause
28    plaintiff to lose in whole or in part the probable future economic benefit or advantage of

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 1    the relationship; (3) the defendant was negligent; and (4) such negligence caused damage
 2    to the plaintiff in that the relationship was actually interfered with or disrupted and the
 3    plaintiff lost in whole or in part the economic benefits or advantage reasonably expected
 4    from the relationship.” N. Am. Chem. Co. v. Superior Court, 59 Cal. App. 4th 764, 69
 5    (1997). Like a claim for intentional interference with prospective economic relations, a
 6    claim for negligent interference requires Plaintiff plead with particularity “the relationships
 7    or opportunities with which [d]efendant is alleged to have interfered.” UMG Recording,
 8    117 F. Supp. 3d at 1118.
 9          Defendant Guelton argues that Plaintiff’s claims for intentional and negligent
10    interference with prospective business relations fail because Plaintiff has not proven: that
11    he had an actual relationship with a third party; that Defendant Guelton had knowledge of
12    Plaintiff’s prospective economic relations; and that interference with any relationship was
13    caused by Defendant Guelton. (Doc. No. 99 at 20.) In response, Plaintiff states he had
14    opportunities with Facebook, but liquidated his Facebook stock in order to invest in BT.
15    (Doc. No. 132-1, Maksoud Depo. at 69.) Plaintiff testifies that this was motivated by
16    Defendant Guelton’s alleged false misrepresentations. (Id. at 70.) However, Plaintiff has
17    failed to show any evidence demonstrating that Defendant Guelton knew of Plaintiff’s
18    prospective business relations. In his deposition testimony, Plaintiff states that he “never
19    told anyone about what [he was] doing” with regards to liquidating his Facebook stock.
20    (Doc. No. 132-1, Maksoud Depo. at 68.) He only states that Hopkins “could have easily
21    known that [he] may have to sell [his] Facebook shares[.]” At no point does he state that
22    Defendant Guelton knew about such business opportunities. Plaintiff has failed to produce
23    any affirmative evidence showing that a jury could resolve his claims against Defendant
24    Guelton for intentional and negligent interference in his favor. See Anderson, 477 U.S. at
25    256. Accordingly, the Court grants Defendant Guelton’s motion for summary judgment as
26    to Plaintiff’s claims for intentional and negligent interference with prospective economic
27    relations.
28    ///

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 1             H.      Declaratory Judgment (Claim 16)
 2             In his Second Amended Complaint, Plaintiff asks the Court for “a judicial
 3    determination that he is the exclusive owner of all tangible and intangible rights, including
 4    all intellectual property rights and patents in both Kaliki and OnSay” pursuant to 28 U.S.C.
 5    § 2201 and California Code of Civil Procedure § 1060. (Doc. No. 35 at 26.) “It is well-
 6    established that federal courts sitting in diversity must apply state substantive law and
 7    federal procedural rules.” Clark v. Allstate Ins. Co., 106 F. Supp. 2d 1016, 1018 (S.D. Cal.
 8    2000) (citing Computer Economics, Inc. v. Gartner Group, Inc., 50 F. Supp. 2d 980, 986
 9    (S.D.Cal.1999)). Therefore, courts sitting in diversity have consistently applied Civil Code
10    of Civil Procedure § 1060 to declaratory judgment claims rather than the Declaratory
11    Judgment Act. See Schwartz v. U.S. Bank, Nat. Ass’n, 2012 WL 10423214, at *15 (C.D.
12    Cal. Aug. 3, 2012) (compiling cases). Thus, the Court applies California law.5
13             “The purpose of a declaratory judgment [under Cal. Code Civ. P. § 1060] is to serve
14    some practical end in quieting or stabilizing an uncertain or disputed jural relation.” Meyer
15    v. Sprint Spectrum L.P., 45 Cal. 4th 634, 647 (2009) (quoting Maguire v. Hibernia Savings
16    & Loan, 23 Cal. 2d 719, 729 (1944)). “To qualify for declaratory relief, [a party] would
17    have to demonstrate its action presented two essential elements: ‘(1) a proper subject of
18    declaratory relief, and (2) an actual controversy involving justiciable questions relating to
19    [the party’s] rights or obligations.’” Jolley v. Chase Home Fin., LLC, 213 Cal. App. 4th
20    872, 909 (2013) (quoting Wilson & Wilson v. City Council of Redwood City, 191 Cal.
21    App. 4th 1559, 1582 (2011)). Declaratory judgment is not used to remedy past wrongs, and
22    therefore “where there is an accrued cause of action for an actual breach of contract or
23    other wrongful act, declaratory relief may be denied.” Baldwin v. Marina City Properties,
24    Inc., 79 Cal. App. 3d 393, 407 (1978).
25             Defendant Guelton argues that Plaintiff has failed to show that an actual controversy
26    exists between Defendant Guelton and Plaintiff regarding the rights to Kaliki or Onsay.
27
28    5
          The parties do not address which declaratory judgment statute should be applied.

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 1    (Doc. No. 99 at 27.) Defendant Guelton argues that since BT’s forfeiture, he has not had
 2    any further involvement with Kaliki or Onsay and does not own any intellectual property
 3    rights to Kaliki or Onsay. (Guelton Decl. ¶ 20–21.) Guelton states that the only intellectual
 4    property right he is aware of relating to BT is a trademark of the name “NavAds,” which
 5    he learned of through an email from Hopkins. (Id. ¶ 20; Doc. No. 99-28, Exh. Y.) Plaintiff
 6    does not address his claim for declaratory judgment in either his opposition or his
 7    supplemental opposition. Plaintiff has failed to produce any evidence demonstrating that
 8    an actual controversy regarding the ownership of BT’s property rights exists between
 9    himself and Defendant Guelton. Accordingly, the Court grants Defendant Guelton’s
10    motion for summary judgment on Plaintiff’s claim for declaratory judgment.
11                                           CONCLUSION
12          For the foregoing reasons, the Court denies in part and grants in part Defendant
13    Guelton’s motion for summary judgment. Specifically, the Court denies Defendant
14    Guelton’s motion for summary judgment as to Plaintiff’s claims for: intentional
15    misrepresentation, aiding and abetting fraud, false promise, unjust enrichment, restitution,
16    constructive trust, breach of fiduciary duties, negligence, unfair business practices, and
17    accounting. The Court grants Defendant Guelton’s motion for summary judgment as to
18    Plaintiff’s claims for: common count (money had and received), intentional interference
19    with prospective economic relations, negligent interference with prospective economic
20    relations, and declaratory judgment.
21          IT IS SO ORDERED.
22    DATED: November 13, 2018
23
                                                    MARILYN L. HUFF, District Judge
24                                                  UNITED STATES DISTRICT COURT
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